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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION

                                                       :
 Restoration Action, Inc.                              :
 1901 Butterfield Road, Suite 120                      :
 Downers Grove, Illinois 60515                         :   Civil Action No. 1:21-cv-00400
                                                       :
                        Plaintiff,                     :
                                                       :
        v.                                             :
                                                       :
 Center for American Restoration, Inc.                 :
 America Restoration Action                            :
 Russell Vought,                                       :
 912 South Quincy Street                               :
 Arlington, Virginia 22204                             :
                                                       :
                        Defendants.                    :


               PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

       Plaintiff, Restoration Action, Inc., (“Plaintiff” or “Restoration Action”), by and through its

undersigned counsel, brings this action against Defendants Russell Vought, America Restoration

Action, and Center for American Restoration, Inc. (“Defendants”) pursuant to Fed. R. Civ. P. 65(b)

of the Federal Rules of Civil Procedure, and respectfully moves this Court for a Preliminary

Injunction Order enjoining and restraining Defendants, and any related organizations or companies

(including parents, officers, directors, agents, owners, employees, representatives, and attorneys

and all others acting under, or in concert with, any of them), from: (a) using the name “Restoration”

or any of Plaintiff’s names or marks as an imitation thereof in connection with Defendants’

services; (b) using Plaintiff’s names or marks or any variations in connection with promotion of

its services; (c) using the domain name “https://www.americanrestorationcenter.com” or any

domain name that includes the word “Restoration”; (d) unfairly competing with Restoration

Action, Inc. in any manner whatsoever.
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       The reasons and basis for this Motion, and the order sought by Plaintiff, are set forth in

Plaintiff’s Memorandum in support of this Motion, filed herewith.

       WHEREFORE, Plaintiff prays that this Court grant its Motion for Preliminary Injunction.



                                            Respectfully submitted,

                                            RESTORATION ACTION, INC.

                                            /s/ Thomas W. Brooke
                                            Thomas W. Brooke
                                            Virginia Bar No. 32388
                                            HOLLAND & KNIGHT LLP
                                            800 17th Street, NW
                                            Suite 1100
                                            Washington, D.C. 20006
                                            Telephone: (202) 663-7271
                                            Facsimile: (202) 955-5564
                                            E-mail: thomas.brooke@hklaw.com

                                            Attorneys for Plaintiff
                                            Restoration Action, Inc.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 6, 2021, a true and correct copy of the foregoing was served,

by email and first class mail, postage prepaid, on the following:

               Kimberly K. Dodd
               Foley & Lardner, LLP
               777 East Wisconsin Avenue
               Milwaukee, MI 53202-5306




                                              /s/ Thomas W. Brooke
                                              Thomas W. Brooke
                                              Virginia Bar No. 32388
                                              HOLLAND & KNIGHT LLP
                                              800 17th Street, NW
                                              Suite 1100
                                              Washington, D.C. 20006
                                              Telephone: (202) 663-7271
                                              Facsimile: (202) 955-5564
                                              E-mail: thomas.brooke@hklaw.com
                                              Attorneys for Plaintiff
                                              Restoration Action, Inc.




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